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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                            No. CR S-03-0371 MCE EFB

12          vs.

13   KENNETH DEANDRE RODGERS,

14                  Movant.                                ORDER

15                                         /

16          Movant, a federal prisoner proceeding without counsel, has filed a motion to vacate, set

17   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Since movant may be entitled to the

18   requested relief, respondent is directed to file an answer, motion or other response within thirty

19   days of the effective date of this order. See Rule 4(b), Rules Governing Section 2255

20   Proceedings. Respondent shall include with an answer any and all transcripts or other

21   documents relevant to the determination of the issues presented in the motion. Rule 5, Rules

22   Governing Section 2255 Proceedings. Movant’s reply, if any, is due on or before thirty days

23   from the date respondent’s answer is filed. Id.

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 1          The Clerk of the Court shall serve a copy of this order, together with a copy of movant’s

 2   October 31, 2011 motion on the United States Attorney or his authorized representative.

 3          So ordered.

 4   Dated: February 21, 2012.

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